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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

                                 TRIAL NOTICE AND
                               FINAL PRETRIAL ORDER

      The cases appearing on the attached list have been scheduled for trial before
Judge Patrick J. Schiltz beginning on Monday, February 4, 2019, at 9:00 am in
Courtroom 14E at the United States Courthouse, 300 South Fourth Street,
Minneapolis, Minnesota.

                                PRETRIAL CONFERENCE

      A pretrial conference will be conducted by Judge Schiltz in Courtroom 14E at the
United States Courthouse, 300 South Fourth Street, Minneapolis, Minnesota, on
Friday, February 1, 2019, at 9:00 am. All attorneys who will try the case must attend.

                           INSTRUCTIONS FOR ALL CASES

        1. Submitting Documents. All documents (except exhibits) must be filed
electronically. Two courtesy copies of every document must be delivered to the
chambers of Judge Schiltz. Judge Schiltz prefers those courtesy copies to be three‐hole
punched and unstapled (and, if warranted, appropriately tabbed). Exhibits must not be
filed or delivered to Judge Schiltz unless he specifically requests.

         2. Trial Briefs. Each party must file a trial brief by Friday, January 18, 2019. In
its trial brief, a party must include the following information:

       a.     Trial Counsel. The party must list the names, addresses, telephone
              numbers, fax numbers, and email addresses of the attorney(s) who will try
              the case.

       b.     Jury/Non‐Jury. The party must state whether the case is to be tried to a
              jury or to the Court.

       c.     Length of Trial. The party must provide a realistic estimate of the length
              of the trial, including, if applicable, jury selection and jury charge.



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 d.    Jurisdiction. The party must identify the basis for federal jurisdiction of
       each cause of action.

 e.    Facts. The party must provide a brief summary of the facts that the party
       intends to prove at trial.

 f.    Claims or Defenses. The party must briefly describe each cause of
       action—including, if applicable, each claim, counterclaim, and cross‐
       claim—and any affirmative defenses that will be tried.

 g.    Unresolved Issues. The party must identify any substantive, evidentiary,
       or procedural issues that remain unresolved. The party must briefly
       describe the party’s position on the unresolved issues and identify the
       primary legal authority on which the party relies.

 3. Exhibits.

 a.    By Friday, January 11, 2019, the parties must exchange lists of the exhibits
       that they intend to offer at trial and make those exhibits available to the
       other parties for examination and copying.

 b.    By Friday, January 18, 2019, each party must file its exhibit list and
       provide two courtesy copies of the list to the Court.

 c.    Plaintiff must mark its first exhibit as “P‐1” and number the others
       sequentially. Defendant must mark its first exhibit as “D‐1” and do
       likewise. The case number must appear on each exhibit.

 d.    Only exhibits that are identified on the exhibit list may be offered at trial,
       unless the omission is excused for good cause.

 e.    Within 7 days after the trial, the parties must submit to the Court a disk
       containing copies of all exhibits that were admitted at trial.




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       4. Witness Lists.

       a.     By Friday, January 11, 2019, the parties must exchange lists of the
              witnesses whom the parties intend to call at trial, as well as a brief
              description of the substance of the expected testimony of each witness.
              No person who is not identified on a party’s witness list may testify at
              trial, unless the omission is excused for good cause.

       b.     By Friday, January 18, 2019, each party must file and provide two
              courtesy copies of its witness list to the Court.

       5. Deposition Designations. By Friday, January 11, 2019, the parties must
exchange lists of the specific deposition testimony that they intend to offer at trial as
substantive evidence (rather than to impeach). No deposition testimony that is not
identified on a party’s list may be offered at trial as substantive evidence, unless the
omission is excused for good cause.

       6. Motions in Limine. All motions in limine must be filed by Friday, January
18, 2019, and responses to all such motions must be filed by Thursday, January 24, 2019.
No party may file more than five motions in limine except in extraordinary
circumstances and with the prior permission of the Court. Each motion in limine must
be limited to one discrete issue. No brief in support of, or in opposition to, any motion
in limine may exceed 3000 words. No reply brief may be submitted with respect to any
motion in limine without the prior permission of the Court.

      7. Stipulations and Settlement. The parties are strongly encouraged to meet in
advance of trial, to make every effort to settle the case, and, if settlement is not reached,
to make every effort to agree on as many trial‐related matters as possible, such as facts
that may be treated as established and exhibits that may be treated as authentic.

       8. Sanctions. The failure of any party to comply with any of the instructions
contained in this Order will result in the imposition of appropriate sanctions.

       9. Daily transcripts. If any party intends to order daily transcripts of the trial,
that party should contact Judge Schiltz’s court reporter, Debra Beauvais, as soon as
possible, so that she can make arrangements for other court reporters to assist her
during the trial. Ms. Beauvais’s email address is debra_beauvais@mnd.uscourts.gov.




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                   ADDITIONAL INSTRUCTIONS FOR JURY TRIALS

       1. Proposed Voir Dire. During voir dire, Judge Schiltz will do all of the
questioning of prospective jurors. By Friday, January 18, 2019, a party must file any
questions that it wants Judge Schiltz to ask.

       2. Joint Introduction to the Case. By Friday, January 18, 2019, the parties must
jointly file a proposed introduction to the case that Judge Schiltz can read to
prospective jurors during voir dire. The introduction should briefly describe the
parties, the major issues, the plaintiff’s position, and the defendant’s position.

       3. Joint List of Parties, Attorneys, and Witnesses. By Friday, January 18, 2019,
the parties must jointly file an alphabetized list of the names of all parties, attorneys,
and witnesses. Judge Schiltz may provide that list to prospective jurors during voir
dire. A Word or WordPerfect version of the joint list of parties, attorneys, and witnesses
must be emailed to Judge Schiltz’s chambers.

      4. Proposed Jury Instructions.

      a.     No later than Friday, January 11, 2019, the parties must exchange
             proposed jury instructions. The parties must then meet and confer and
             make every effort to resolve disagreements over those proposed
             instructions.

      b.     Each party must file its proposed jury instructions by Friday, January 18,
             2019. A Word or WordPerfect version of the proposed instructions must
             be emailed to Judge Schiltz’s chambers.

             i.      Each proposed instruction must be numbered, appear on a separate
                     page, and identify supporting legal authority.

             ii.     Any citation to a set of model jury instructions or a jury‐instruction
                     treatise must be to the current version of the cited source unless a
                     party has good cause to cite an older version and explains why it is
                     citing the older version.

       5. Proposed Special Verdict Form. No later than Friday, January 11, 2019, the
parties must exchange proposed special verdict forms. The parties must then meet and
confer and make every effort to resolve disagreements over the proposed special verdict

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form. If the parties reach agreement, the proposed form must be filed by Friday,
January 18, 2019. If they do not reach agreement, the parties must file their own
proposed forms by Friday, January 18, 2019. A Word or WordPerfect version of the
proposed special verdict form must be emailed to Judge Schiltz’s chambers.



             ADDITIONAL INSTRUCTIONS FOR NON‐JURY TRIALS

       1. Proposed Findings of Fact and Conclusions of Law. By Friday, January 18,
2019, each party must file proposed findings of fact and conclusions of law. For each
proposed finding of fact, the party must identify the witnesses or exhibits that will
support the finding. For each proposed conclusion of law, the party must cite legal
authority that supports the conclusion. A Word or WordPerfect version of the
proposed findings of fact and conclusions of law must be emailed to Judge Schiltz’s
chambers.

Dated: August 6, 2018                           s/Patrick J. Schiltz
                                                Patrick J. Schiltz
                                                United States District Judge




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SUMMARY OF DEADLINES

By Friday, January 11, 2019:

G      Exchange lists of exhibits and make exhibits available
G      Exchange witness lists
G      Exchange deposition designations
G      Exchange proposed jury instructions
G      Exchange proposed special verdict forms

By Friday, January 18, 2019:

File and serve:
G      Trial briefs
G      List of exhibits
G      Witness lists
G      Motions in limine
G      Proposed voir dire
G      Joint introduction to the case
G      Joint list of parties, attorneys, and witnesses
G      Proposed jury instructions
G      Proposed special verdict form(s)
G      Proposed findings of fact and conclusions of law (bench trials only)

Send to Judge Schiltz’s Chambers:

Via overnight delivery, U.S. Mail, or courier:
G      Two courtesy copies of all filed documents

Via email to schiltz_chambers@mnd.uscourts.gov:
G     Word or WordPerfect versions of joint list of parties, attorneys, and witnesses; proposed
      jury instructions; proposed special verdict forms; and proposed findings of fact and
      conclusions of law (bench trials only)

By Thursday, January 24, 2019:

G      File and serve responses to motions in limine. Send two courtesy copies to Judge
       Schiltz’s chambers.

Friday, February 1, 2019: Pretrial conference at 9:00 am before Judge Schiltz.

Monday, February 4, 2019: Trial begins at 9:00 am before Judge Schiltz.



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                                      February Trial List

1. 15‐CV‐2210 (PJS/BRT) Ronaldo Ligons, et al. v. Minnesota Department of Corrections   Jury, 5 days

      Plaintiffs:
                    Peter J Nickitas                                           651-238-3445
                    Andrew H. Mohring                                          612-361-8230
                    Esther Agbaje                                              612-361-8200
                    Katie Crosby Lehmann                                       612-361-8202
                    Michael V Ciresi                                           612-361-8200
                    Carl Peter Erlinder                                        651-340-1272
      Defendants:
                    Kathryn Fodness                                            651-757-1348
                    Kelly S Kemp                                               651-757-1481




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